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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

STATE OF MISSOURI, et al.,                    )
                                              )
          Plaintiffs,                         )
                                              )
    v.                                        )         No. 4:21-cv-00287-AGF
                                              )
JOSEPH R. BIDEN, JR., et al.,                 )
                                              )
          Defendants.                         )
                                              )

                        ORDER SETTING RULE 16 CONFERENCE

         IT IS HEREBY ORDERED that:

         1. Scheduling Conference: Scheduling Conference pursuant to Fed. R. Civ. P. 16

is set for June 25, 2021, at 11:00 AM by Zoom. Participants are directed to use the

following Zoom log in information: Meeting ID: 161 444 0464; Password: 973200. All

participants are directed to add their name (right click and select Rename) to their profile

upon entering the Zoom hearing. Pursuant to Local Rule 13.02, all means of

photographing, recording, broadcasting, and televising are prohibited in any courtroom,

and in areas adjacent to any courtroom, except when authorized by the presiding judge.

This includes proceedings ordered by the Court to be conducted by phone or video.

         At the scheduling conference counsel will be expected to discuss in detail all

matters covered by Fed. R. Civ. P. 16, as well as all matters set forth in their joint
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proposed scheduling plan described in paragraph 3, and a firm and realistic trial setting

will be established at or shortly after the conference.

       2. Meeting of Counsel: Prior to the date for submission of the joint proposed

scheduling plan set forth in paragraph 3 below, counsel for the parties shall meet to

discuss the following:

●       the nature and basis of the parties' claims and defenses,

●       the possibilities for a prompt settlement or resolution of the case,

●       the formulation of a discovery plan,

●       any issues relating to preserving discoverable information,

●      any issues relating to disclosure or discovery of electronically stored information,
including-

        (i)   the form or forms in which it should be produced,

       (ii) the topics for such discovery and the time period for which such discovery
will be sought,

       (iii) the various sources of such information within a party’s control that should
be searched for electronically stored information, and

       (iv) whether the information is reasonably accessible to the party that has it, in
terms of the burden and cost of retrieving and reviewing the information,

●      any issues relating to claims of privilege or of protection as trial-preparation
material, including - if the parties agree on a procedure to assert such claims after
production - whether to ask the Court to include their agreement in an order, and

●      other topics listed below or in Fed. R. Civ. P. 16 and 26(f).

       Counsel will be asked to report orally on the matters discussed at this meeting

when they appear before the undersigned for the scheduling conference, and will




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specifically be asked to report on the potential for settlement; whether settlement

demands or offers have been exchanged, without revealing the content of any offers or

demands; and, suitability for Alternative Dispute Resolution. This meeting is expected to

result in the parties reaching agreement on the form and content of a joint proposed

scheduling plan as described in paragraph 3 below.

      Only one proposed scheduling plan may be submitted in any case, and it must be

signed by counsel for all parties. It will be the responsibility of counsel for the plaintiff

to actually submit the joint proposed scheduling plan to the Court. If the parties cannot

agree as to any matter required to be contained in the joint plan, the disagreement must

be set out clearly in the joint proposal, and the Court will resolve the dispute at or shortly

after the scheduling conference.

       3. Joint Proposed Scheduling Plan: No later than June 18, 2021, counsel shall
file with the Clerk of the Court a joint proposed scheduling plan. All dates required to
be set forth in the plan shall be within the ranges set forth below for the applicable
track:

Track 1: Expedited                     Track 2: Standard                         Track 3:
Complex

*Disposition w/i 12 mos of filing      *Disposition w/i 18 mos of filing        *Disposition
w/i 24 mos of filing

*120 days for discovery                *180-240 days from R16 Conf for           *240-360
days from R16 Conf for
                                           discovery/dispositive motions
discovery/dispositive motions

The parties' joint proposed scheduling plan shall include:

      (a) whether the Track Assignment is appropriate; NOTE: This case has
          been assigned to Track 2: Standard;




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      (b) dates for joinder of additional parties or amendment of pleadings;

      (c) a discovery plan including:

          (i) any agreed-upon provisions for disclosure or discovery of electronically
         stored information,

          (ii) any agreements the parties reach for asserting claims of privilege or of
         protection as trial-preparation material after production,

          (iii) a date or dates by which the parties will disclose information and
         exchange documents pursuant to Fed. R. Civ. P. 26(a)(1),

          (iv) whether discovery should be conducted in phases or limited to certain
         issues,

          (v) dates by which each party shall disclose its expert witnesses’ identities and
         reports, and dates by which each party shall make its expert witnesses available
         for deposition, giving consideration to whether serial or simultaneous
         disclosure is appropriate in the case,

          (vi) whether the presumptive limits of ten (10) depositions per side as set forth
         in Fed. R. Civ. P. 30(a)(2)(A), and twenty-five (25) interrogatories per party as
         set forth in Fed. R. Civ. P. 33(a), should apply in this case, and if not, the
         reasons for the variance from the rules,

          (vii) whether any physical or mental examinations of parties will be requested
         pursuant to Fed. R. Civ. P. 35, and if so, by what date that request will be made
         and the date the examination will be completed,

          (viii) a date by which all discovery will be completed (see applicable track
         range, Section 3. above),

          (ix) any other matters pertinent to the completion of discovery in this case,

       (d) the parties’ positions concerning the referral of the action to mediation or
early neutral evaluation, and when such a referral would be most productive as is;

      (e) dates for filing any motions to dismiss or motions for summary judgment (see
applicable track range, Section 3. above);

       (f) the earliest date by which this case should reasonably be expected to be ready
for trial (see applicable track range, Section 3. above);



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      (g) an estimate of the length of time expected to try the case to verdict; and

     (h) any other matters counsel deem appropriate for inclusion in the joint proposed
scheduling plan

      4. Disclosure of Corporate Interests: All non-governmental corporate parties are

reminded to comply with Disclosure of Corporate Interests by filing a Certificate of

Interest with the Court pursuant to E. D. Mo. L. R. 2.09.

      5. Pro Se Parties: If any party appears in this action pro se, such party shall meet

with all other parties or counsel, participate in the preparation and filing of a joint

proposed scheduling plan, and appear for the scheduling conference, all in the same

manner as otherwise required by this order.

      Dated this 7th day of June, 2021.




                                               ________________________________
                                               AUDREY G. FLEISSIG
                                               UNITED STATES DISTRICT JUDGE




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